Case 01-01139-AMC Doc17150 Filed 10/25/07 Pageiof3

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Case 01-01139-AMC Doc17150 Filed 10/25/07 Page 2of3

ZJo | stag

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Case 01-01139-AMC Doc17150 Filed 10/25/07 Page 3of 3

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